Case 3:16-md-02738-MAS-RLS Document 28797-1 Filed 12/14/23 Page 1 of 12 PageID:
                                 168620
Case 3:16-md-02738-MAS-RLS Document 28797-1 Filed 12/14/23 Page 2 of 12 PageID:
                                 168621
Case 3:16-md-02738-MAS-RLS Document 28797-1 Filed 12/14/23 Page 3 of 12 PageID:
                                 168622
Case 3:16-md-02738-MAS-RLS Document 28797-1 Filed 12/14/23 Page 4 of 12 PageID:
                                 168623
Case 3:16-md-02738-MAS-RLS Document 28797-1 Filed 12/14/23 Page 5 of 12 PageID:
                                 168624
Case 3:16-md-02738-MAS-RLS Document 28797-1 Filed 12/14/23 Page 6 of 12 PageID:
                                 168625
Case 3:16-md-02738-MAS-RLS Document 28797-1 Filed 12/14/23 Page 7 of 12 PageID:
                                 168626
Case 3:16-md-02738-MAS-RLS Document 28797-1 Filed 12/14/23 Page 8 of 12 PageID:
                                 168627
Case 3:16-md-02738-MAS-RLS Document 28797-1 Filed 12/14/23 Page 9 of 12 PageID:
                                 168628
Case 3:16-md-02738-MAS-RLS Document 28797-1 Filed 12/14/23 Page 10 of 12 PageID:
                                  168629
Case 3:16-md-02738-MAS-RLS Document 28797-1 Filed 12/14/23 Page 11 of 12 PageID:
                                  168630
Case 3:16-md-02738-MAS-RLS Document 28797-1 Filed 12/14/23 Page 12 of 12 PageID:
                                  168631
